Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 1 of 20




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-1878-RBJ

  ELISABETH EPPS, et al.,

  Plaintiffs,

  v.

  CITY AND COUNTY OF DENVER, et al.,

  Defendants.


                            DECLARATION OF EDWARD MAGUIRE


          Pursuant to 28 U.S.C. § 1746, I, Edward Maguire, declare as follows:

          1.     I am over 18 years old and competent to make this declaration.

          2.     My expert reports in the above-captioned case are attached hereto.

          3.     The contents of my reports are true and accurate to the best of my knowledge, and

  the opinions offered therein are each to a reasonable degree of professional certainty. If called to

  testify, I would testify consistently with the opinions offered in my reports.

          I declare under penalty of perjury that the foregoing is true and correct.


  February 10, 2022                             ____________________________
  Date                                          Edward Maguire




                                                                                           Exhibit 51
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 2 of 20




                             IN THE UNITED STATES DISTRICT COURT
                             OF THE DISTRICT COURT OF COLORADO

  Civil Action Nos. 1:20-cv-01878-RBJ & 1:20-cv-01922-RBJ-MEH (consolidated)

  ELISABETH EPPS, et al.

  Plaintiffs,
  v.
  CITY AND COUNTY OF DENVER, et al.,

  Defendants


                        EXPERT REPORT OF DR. EDWARD R. MAGUIRE

                                      Experience and Qualifications

  1. I am a Professor of Criminology and Criminal Justice at Arizona State University, where I also
  serve as director of the Public Safety Innovation Lab. I earned a Ph.D. in criminal justice from
  the State University of New York at Albany in 1997. I have been involved in studying, teaching,
  training, providing technical assistance for, and collaborating with police for more than 25 years.
  My work focuses primarily on policing and violence. One of the areas I specialize in is the study
  of policing crowds, including protests.

  2. I have authored or edited seven books or monographs, and published more than 100 scientific
  journal articles and book chapters on a variety of criminal justice issues. Most of that work
  focuses on policing and violence, with much of my recent work focusing specifically on policing
  crowd events and protests.

  3. In January 2020, I published a guidebook for police entitled Policing Protests: Lessons from
  the Occupy Movement, Ferguson, and Beyond.1 The guidebook presents a summary of scientific
  evidence from criminology and social psychology on crowds and the police response to crowd
  events. It also provides an analysis of the police response to Occupy Wall Street and other
  protests by law enforcement agencies in the United States and abroad. Finally, the guidebook
  provides a detailed framework for handling police protests in a manner that seeks to prevent
  conflict and violence and minimize harm to protesters, police, and bystanders. The research
  featured in the guidebook was funded by the Office of Community Oriented Policing Services, a
  component of the United States Department of Justice.


  1
   Maguire, E.R., & Oakley, M. (2020). Policing Protests: Lessons from the Occupy Movement, Ferguson, and
  Beyond. New York: Harry Frank Guggenheim Foundation. https://www.hfg.org/s/Policing-Protests.pdf


                                                        1
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 3 of 20




  4. I also serve as Chair of the Police Executive Research Forum’s (“PERF”) Research Advisory
  Board (the “Board”), which is composed of a group of researchers, and law enforcement
  practitioners who advise PERF’s efforts to advance police research and innovation. The Board
  assists PERF’s staff in identifying potential research topics; coordinating research efforts with
  other organizations; assisting with human subjects review; and disseminating findings to the
  academic and policing professions. As part of my duties as Chair of the Board, I engage in
  communications with law enforcement leaders throughout the country in identifying and helping
  to implement evidence-based practices associated with leadership and management, community
  policing, patrol and criminal investigation practices, and crowd management.

  5. In addition, I serve as the senior researcher for law enforcement for CrimeSolutions.gov, an
  effort coordinated by the National Institute of Justice, a component of the U.S. Department of
  Justice. The purpose of the website is to provide policymakers and practitioners with an easy-to-
  follow resource for understanding scientific evidence associated with improving criminal justice
  practices and reducing crime and violence. My role is to coordinate all reviews of research
  associated with law enforcement and policing for this U.S. government website.

  6. Much of my research and consulting in recent years has focused on crowd management and
  the police response to protests. I am currently working with the Columbus Police (OH) and the
  Phoenix Police (AZ) assessing their responses to the protests following the death of George
  Floyd and providing recommendations for reform. I am performing similar services for the
  Seattle Office of the Inspector General regarding the Seattle Police Department’s response to
  protests. I was also commissioned by the Inter-American Development Bank to write a guide for
  police in Latin America and the Caribbean on appropriate police responses to protests. I have
  also been invited to speak or provide training on policing crowd events for police in four
  countries (Australia, Honduras, the U.K., and the U.S.).

  7. My experience, training, and background is more fully described in my C.V., attached as
  Exhibit A. A list of materials I was provided for review is attached as Exhibit B. I have not
  testified at trial or deposition in the last four years.

  8. My opinions are based upon the totality of my specialized knowledge, experience, and my
  expertise in the field of criminology generally, and policing and violence more specifically. My
  expertise has been developed during my decades of research of and engagement with law
  enforcement and my continued experience as a professor, researcher, author, and consultant to
  governments and law enforcement agencies. Moreover, my expertise is based on an intimate
  familiarity with standards of training and police practices that have been examined and/or
  adjudicated in case law; departmental policies and procedures; applicable federal, state and local
  police training programs; model policies; and training and research from scholars and police
  professional organizations.




                                                  2
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 4 of 20




                                    Relevant Background Facts

  9. On May 25, 2020, Minneapolis police officers arrested George Floyd after receiving a
  complaint that he had used counterfeit money. Officer Derek Chauvin knelt on Mr. Floyd’s neck
  until he stopped breathing and died. Beginning on May 28, 2020, protests over the death of Mr.
  Floyd began in Denver. During the first day of the protests, the Denver Police Department
  (“DPD”) was solely responsible for monitoring and managing the protests. In the days that
  followed, outside law enforcement agencies were brought in at the request of DPD to assist in
  crowd management and control.

  10. The purpose of this report is to examine and assess the crowd management and crowd control
  policies, training, strategies, and tactics of the Denver Police Department (“DPD”) at the time of
  the George Floyd protests (referred to herein as “GFP”) as compared to nationally accepted
  police standards and practices at the time of the GFP. For purposes of this report, my analysis
  will focus on DPD policies, training, strategies and tactics that were in place at the time of the
  GFP, or that occurred during the GFP, defined here as the first six days of protests that occurred
  from May 28, 2020 through June 2, 2020.


                          DPD Policies, Training, Strategies, and Tactics

  A. Insufficient and Outdated Training in Crowd Management and Control

  11. Below is a table listing the training materials produced by the City of Denver in this case,
  which lists the title of the document, the date of creation/publication (where available), and the
  purpose of the document. This table is not intended to analyze the documents, but to set forth the
  scope of documents that helped inform the analysis to be undertaken in this section of the report.

      Title and Bates Number                  Date                        Purpose
   Denver Police Department           February 13, 2019        The manual serves as a
   Crowd Management Manual -                                   guide for crowd
   DEN000068                                                   management and
                                                               control operations.
   Crowd Management and               May 14, 2008             This presentation covers
   Control for Supervisors Part 1                              protestor tactics and police
   and Part 2 - DEN000235                                      preparation for civil
                                                               disturbance.
   Chemical Agents: O.C.              September 2008           A presentation detailing
   Pepperspray - DEN000317                                     what are chemical agents
                                                               and when can they be used
                                                               in the field.




                                                  3
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 5 of 20




      40mm Operator Course -               November 20192               Course that must be
      DEN000336                                                         completed and refreshed by
                                                                        Denver Police Department
                                                                        officers who become
                                                                        certified to utilize 40mm
                                                                        systems.
      40mm Operator Course Outline         November 20193               Outline for the instructor
      - DEN000414                                                       presenting the 40mm
                                                                        Operator course training.

      40mm Operator Course - Safety                                     Outline detailing safety
      Brief for Practical Qualification                                 instructions for the
                                                                        practical exercise required
                                                                        to complete certification for
                                                                        the 40mm Operator course
                                                                        training.
      40mm Operator Course -               November 20194               Written examination
      Written Exam - DEN000418                                          required to complete
                                                                        certification for the 40mm
                                                                        Operator course training.
      40mm Operator Course -               November 20195               Answers to written
      Written Exam Answers -                                            examination required to
      DEN000422                                                         complete certification for
                                                                        the 40mm Operator course
                                                                        training.
      40MM DIRECT IMPACT®                  September 2018               Product and projectile
      ROUND OC, CS, INERT &                                             specifications for 40mm
      MARKING - DEN000426                                               Direct Impact rounds.
      40MM eXact iMpact™                   September 2018               Product and projectile
      SPONGE ROUND -                                                    specifications for 40mm
      DEN000427                                                         eXact iMpact sponge
                                                                        rounds.
      40MM 250-SHOT TRAINING               September 2018               Document summarizing the
      KIT - DEN000428                                                   materials and devices
                                                                        included in the 40mm 250-
                                                                        Shot system kit.

  2
   This document is labeled as “Version 11.19”, and adopts some of the structure set forth in the Crowd Management
  Manual. Accordingly, I have dated this as November 2019.
  3
   This document is labeled as “Version 11.19”, and adopts some of the structure set forth in the Crowd Management
  Manual. Accordingly, I have dated this as November 2019.

  4
   This document is labeled as “Version 11.19”, and adopts some of the structure set forth in the Crowd Management
  Manual. Accordingly, I have dated this as November 2019.

  5
   This document is labeled as “Version 11.19”, and adopts some of the structure set forth in the Crowd Management
  Manual. Accordingly, I have dated this as November 2019.

                                                         4
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 6 of 20




      40MM MULTI SHOT, PUMP                                               Document describing the
      ADVANCE LAUNCHER, 5”                                                product specifications of
      CYLINDER - PENN ARMS                                                the Penn Arms’ 40mm
      Product Specification Chart -                                       Multi Shot, Pump Advance
      DEN000429                                                           Launcher.
      40MM SINGLE SHOT                                                    Document describing the
      LAUNCHER COMPACT -                                                  product specifications of
      PENN ARMS Product                                                   the Penn Arms’ 40mm
      Specification Chart -                                               Single Shot Launcher
      DEN000430                                                           Compact.
      8 Hour Schedule (Redacted) -          Post-March 20196              Schedule detailing a
      DEN000432                                                           training seminar related to
                                                                          field management and field
                                                                          force deployment.
      Crowd Control Leadership                                            Presentation related to
      Training (Redacted) -                                               crowd control tactics,
      DEN000433                                                           commands, and equipment.
      Practice Handout (Redacted) -                                       Handout which instructs
      DEN000580                                                           training exercises.
      DPD Crowd Control - Online
      Refresher Training (Redacted) -
      DEN000583
                                                                          Presentation detailing the
                                                                          use and policies
      Pepperball Operator Course -                                        surrounding pepperball
      DEN000584                                                           systems.
                                                                          Safety brief detailing
                                                                          process for practical
      PepperBall Operator Practical                                       qualification for Pepperball
      Qualification - DEN000672                                           Operator course.
      PepperBall Operator Written                                         Written exam for
      Exam_- DEN000675                                                    Pepperball Operator course.
      PepperBall Operator Written                                         Answer key to written
      Exam - Answer Key -                                                 exam for Pepperball
      DEN000678                                                           Operator course.
      Full Tactical Carbine                                               User manual for the Full
      Pepperball System User Manual                                       Tactical Carbine pepperball
      - DEN000682                                                         system.
                                                                          Specification chart for
      PepperBall FTC Specification                                        PepperBall Full Tactical
      Sheet - DEN000691                                                   Carbine system.
      PepperBall Accessories (13 CU.                                      Specification chart for
      IN. HPA) Specification Sheet -                                      pressure gauge and gas
      DEN000692

  6
   I will note that the document references the Hong Kong protestor tactics. Assuming this is in reference to the Hong
  Kong anti-extradition bill protests, then this training schedule would date to a point in time after March 2019.

                                                           5
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 7 of 20




                                                                 cannister device accessaory
                                                                 for PepperBall system.
   PepperBall Accessories (Scuba                                 Specification chart for
   Tank) Specification Sheet -                                   scuba tank accessory for
   DEN000693                                                     PepperBall system.
   PepperBall Projectile Round                                   Specification chart for
   Live-X Specification Sheet -                                  Live-X ammunition for
   DEN000694                                                     PepperBall system.
   PepperBall Projectile Round                                   Specification chart for Inert
   Inert Specification Sheet -                                   ammunition for PepperBall
   DEN000695                                                     system.
   DEN000696
   Crowd Control Recruit Training                                Presenter annotated version
   (Speaker Notes) - DEN000696                                   of presentation covering
   (Redacted)                                                    crowd control tactics and
                                                                 protocols.
   Crowd Control Recruit Training                                Presentation covering
   - DEN000823 (Redacted)                                        crowd control tactics and
                                                                 protocols.
   Denver Police Department            June 10, 2019             Training bulletin published
   Training Bulletin - June 6, 2019                              on June 10, 2019 under the
   (Updated June 10, 2019) -                                     name of Chief Paul M.
   DEN001909                                                     Pazen regarding First
                                                                 Amendment and Free
                                                                 Speech protections.
   Denver Police Department            August 16, 2018           Training bulletin published
   Training Bulletin - August 16,                                on August 16, 2018 under
   2018 - DEN001912                                              the name of Chief Paul M.
                                                                 Pazen regarding First
                                                                 Amendment
                                                                 considerations.

  12. As evidenced by the above table, certain of the key training materials that were produced by
  the City of Denver as the controlling documents to guide the DPD response to the GFP are dated,
  with some not having been updated since 2008. Significant advances in our understanding of
  policing protests and crowd psychology have occurred in recent years. The use of dated training
  materials, as I will illustrate below, results in the use of outdated and inappropriate strategies and
  tactics for policing protests. Moreover, even when the training materials have been updated more
  recently, many of them contain content that is outdated and inconsistent with nationally accepted
  standards and practices. More alarmingly, as I will show below, they are also inconsistent with
  the DPD’s own policies. These training materials need to be updated and aligned with nationally
  accepted standards and DPD policies.

  13. The two principal documents outlining DPD policies relevant to this case are the Operations
  Manual (DEN000950-001754) and the Crowd Management Manual (DEN001755-1798). The
  Operations Manual is more than 800 pages long and covers policies and procedures governing a
                                                    6
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 8 of 20




  wide array of DPD operations. For instance, it includes general policies and procedures
  associated with using force, making arrests, managing traffic, investigating crimes, and many
  other topics. The Crowd Management Manual is 44 pages long and focuses specifically on
  policies associated with handling crowd events, including protests.7

  14. The DPD’s Crowd Management Manual divides the police response to crowds into two
  categories: crowd management, and crowd control. The DPD’s Crowd Management Manual
  defines crowd management as “Techniques used to address lawful public assemblies before they
  begin and during the event for the purpose of guaranteeing a safe and lawful assembly. This can
  be accomplished in part through coordination with event planners and group leaders, permit
  monitoring, past event critiques and future planning” (p. 5).

  15. The Crowd Management Manual defines crowd control as “Techniques used to protect
  lawful public assemblies and free speech activities and prevent unlawful conduct. The techniques
  could include a display of formidable numbers of police officers, crowd containment tactics,
  crowd dispersal tactics, and individual or group arrest procedures” (p. 6). The Crowd
  Management Manual notes, “When possible, crowd management tactics will be used prior to
  implementing crowd control tactics. Crowd control tactics are generally intended for use when
  efforts to manage a crowd or event have been unsuccessful or simply require a greater level of
  intervention. Some situations, both planned and spontaneous, may require a combination of
  management and control” (p. 4). Although I do not use the crowd management/crowd control
  dichotomy in my guidebook on policing protests, the framework that I recommend based on the
  research evidence is consistent with the idea that some crowd events require the simultaneous
  use of crowd management and crowd control approaches.

  16. Consistent with best practices in policing, the DPD Crowd Management Manual states that
  “the overriding goal of police actions at the onset of civil disturbance problems is the de-
  escalation of violence” (p. 8). A key element of de-escalation is communication and dialogue
  between police and crowd members. The Crowd Management Manual emphasizes this point,
  noting, “The preferred use of uniformed and non-uniformed police officers is to communicate as
  much as possible to demonstrators and their leaders that police officers are present in order to
  facilitate the peaceful and lawful expression of First Amendment rights.” In my opinion, the
  Crowd Management Manual does a good job of setting the tone for an appropriate police
  response to crowd events, one that relies heavily on “communication, mediation, and
  negotiation” (p. 11).

  17. Unfortunately, the aspirational language used in the Crowd Management Manual to
  emphasize the importance of de-escalation and communication strategies for avoiding conflict
  and violence does not match the content of the training materials I reviewed. Those training
  materials focus primarily on crowd control rather than crowd management. They focus very little

  7
    The copy of the DPD Crowd Management Manual provided by the city contained redacted text. As a result, I was
  unable to review the full document. Portions of the text on pp. 9-11 and pp. 25-26 were redacted. In addition, the full
  text of pp. 27-41 was redacted.

                                                            7
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 9 of 20




  on de-escalation, communication, mediation, or negotiation. Therefore, they set the tone for
  officers to respond to crowd events in a manner that, consistent with their training, focuses
  primarily on crowd control. Below I will outline some examples in which the training provided
  to DPD officers on crowd management and control is deficient relative to nationally acceptable
  police standards and practices.

  18. Current best practices in crowd management and control are based heavily on research
  evidence from psychology, particularly research on crowd psychology and behavior.
  Understanding how crowds think and behave is useful for managing them and avoiding
  unintended consequences, including conflict and violence. The guidebook that I authored on
  policing protests notes that some protest policing practices “are consistent with current
  perspectives from crowd psychology while others are more consistent with older perspectives in
  crowd psychology that have since been discredited.”8 Basing police practices on an inaccurate or
  outdated understanding of crowd psychology “is a recipe for conflict and can endanger both
  crowds and the police.” 9

  19. Research evidence from crowd psychology is useful for understanding how conflict evolves
  between police and crowds. When police choose to engage primarily in crowd control strategies,
  particularly the use of indiscriminate force -- rather than focusing on crowd management
  approaches like de-escalation, communication, mediation, and negotiation -- they tend to escalate
  conflict and increase the likelihood that crowds will react in a rebellious manner. This is
  especially true if police use force against an entire crowd in response to the misbehavior of a
  subset of its members. Under such circumstances, “the entire crowd will unite around a sense of
  opposition to the police.” 10

  20. This research evidence has direct implications for policing protests. Consider the following
  quote from Her Majesty’s Chief Inspector of the Constabulary in England and Wales:
  “Indiscriminate use of force by the police can create a sense of unity in the crowd through a
  common perception of the illegitimacy of police action and corresponding opposition in
  response. Perceptions of police legitimacy are critical because they affect the crowd’s internal
  dynamics, facilitating or undermining the ability of those seeking conflict to exert social
  influence over others in the crowd. Consequently, there is an increase in the numbers within the
  crowd who perceive conflict against the police as acceptable or legitimate behaviour, thereby
  empowering those prepared to engage in physical confrontation with the police. In this way, the




  8
      Maguire & Oakley (2020, p. 46).
  9
      Maguire & Oakley (2020, pp. 46-47).
  10
       Maguire & Oakley (2020, p. 50).


                                                  8
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 10 of
                                      20




  crowd is drawn into conflict even though the vast majority had no prior intention of engaging in
  disorder” (p. 86).11

  21. These issues are especially salient when the protests are about the police. In this case, the
  protests were focused primarily on the death of George Floyd specifically and the police use of
  excessive force against minorities more generally. As noted in my guidebook on policing
  protests, when police are the object of protests, thoughtful crowd management strategies are
  especially important because “efforts to block protests will inevitably strengthen the perception
  that police are unjust and illegitimate.”12 In such circumstances, the use of de-escalation,
  communication, mediation, and negotiation – as outlined in the DPD’s Crowd Management
  Manual – is especially important for calming tensions, reducing conflict and violence, and
  minimizing harm to police officers and the public.

  22. The DPD’s “Crowd Control Recruit Training” course (DEN 696-822) focuses primarily on
  crowd control rather than crowd management. Most of the material in this course focuses on
  field force tactics such as formations, arrests, and the use of force. Crowd psychology is covered
  briefly but the coverage of this topic is dated, incomplete, and inaccurate. For instance, page 5
  lists contagion as a source of escalation in crowds, but research has discredited this idea long
  ago.13 Page 6 focuses on intelligence and planning, but misses the importance of identifying
  potential allies who can partner with the police to help de-escalate tensions from inside the
  crowd. Page 19 covers different types of protesters. The typology it presents is inconsistent with
  research evidence on the composition of protest crowds. Finally, crowd management principles
  are covered on just one page in this 127-page document. The imbalance in coverage of crowd
  management and crowd control in this course sends the unfortunate and inappropriate message
  that crowd control is the dominant tool police should use in responding to protests.

  23. The DPD’s “Crowd Management and Control for Supervisors” (DEN 235-316) course has
  not been updated since 2008. The training is outdated, poorly organized, inconsistent with the
  DPD’s Crowd Management Manual, and does not reflect current nationally accepted protest
  policing standards and practices. It covers very little of the crowd management strategies
  described in the Crowd Management Manual and focuses primarily on crowd control tactics
  such as platoon movements, formations, arrest teams, and use of force. It provides no real
  coverage of crowd psychology and the factors that tend to escalate conflict and violence during
  crowd events. Based on the course content, a supervisor taking this course would naturally
  conclude that crowd control tactics -- including the use of force and less lethal weapons – are


  11
    Her Majesty’s Chief Inspector of the Constabulary (2009). Adapting to Protest: Nurturing the British Model of
  Policing. https://www.justiceinspectorates.gov.uk/hmicfrs/media/adapting-to-protest-nurturing-the-british-model-of-
  policing-20091125.pdf
  12
       Maguire & Oakley (2020, p. 62).
  13
    Reicher, S., Stott, C., Cronin, P., & Adang, O. (2004). An integrated approach to crowd psychology and public
  order policing. Policing: An International Journal of Police Strategies and Management, 27(4), 558-572.

                                                          9
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 11 of
                                      20




  much more important than the crowd management strategies contained in the Crowd
  Management Manual when handling crowd events, including protests.

  24. The DPD’s “Crowd Control Leadership Training” (DEN 433-579) course contains some of
  the same material covered in the previous two paragraphs. Like the other courses, it is outdated,
  poorly organized, inconsistent with the DPD’s Crowd Management Manual, and does not reflect
  current nationally accepted protest policing standards and practices. Its coverage of “types of
  protesters” is misleading and inconsistent with what we know from crowd psychology. Its
  coverage of intelligence and planning is incomplete and does not account for the importance of
  identifying potential allies who can help de-escalate tensions from within the crowd. It focuses
  primarily on crowd control tactics such as movements, formations, arrest teams, and use of force.
  Once again, based on the course content, a participant taking this course would naturally
  conclude that crowd control tactics -- including the use of force and less lethal weapons – are
  much more important than the crowd management strategies contained in the Crowd
  Management Manual when handling crowd events, including protests.

  25. In addition to providing outdated and insufficient training on crowd management, the DPD
  also provided officers with insufficient training on crowd control. For instance, the Office of the
  Independent Monitor’s (OIM) report (DEN 3925-4018) on the police response to the GFP listed
  several training deficiencies. One such deficiency concerned the lack of training and policy in
  the DPD on the use of flash-bang grenades (also known as distraction grenades or stun
  grenades). These devices emit an intense flash of light and a loud explosion sound to distract and
  disorient people temporarily. Flash bang grenades can result in several health risks to crowd
  members, bystanders, and police officers, including burns and other injuries related to the
  explosion, eye injuries associated with the intense flash of light, and ear-related injuries
  (including irreversible hearing loss) associated with the loud noise.14 In addition to the health
  risks associated with these devices, there is some evidence to suggest that they may escalate
  conflict and violence with crowds rather than achieving their intended objective of dispersing
  crowds.15 Because of these various issues, police must use great caution in deploying flash-bang
  devices and must train their officers on the safe and proper use of these devices.

  26. The OIM report (DEN 3925-4018) also concluded that during the GFP, some DPD officers
  used less-lethal weapons (Pepperball and 40mm launchers) that they were not trained or certified




  14
    Cazares, S.M., Hirsch, L.R., & King, A.L. (2015). Significance of Tympanic Membrane Rupture Potentially
  Caused by Flashbang Grenades. Alexandria, VA: Institute for Defense Analyses; Hoskin, A.K., Atlas, M.D., &
  Mackey, D.A. (2015). The Sydney siege: Courage, compassion, and connectedness. Medical Journal of Australia,
  202(7), 360; Wang, H., Burgei, W., & Zhou, H. (2018). Risk of hearing loss injury caused by multiple flash bangs
  on a crowd. American Journal of Operations Research, 8, 239-265.
  15
    Haar, R.J., & Iacopino, V. (2016). Lethal in Disguise: The Health Consequences of Crowd-Control Weapons.
  Physicians for Human Rights. https://phr.org/resources/lethal-in-disguise/


                                                         10
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 12 of
                                      20




  to use (p. 29). Proper training is essential to reduce the risk of injury or death among people
  struck by the kinetic impact projectiles fired by these weapons.16

  27. Third, the OIM report notes that the DPD provides no training on certain “high-risk
  explosive devices” such as rubber-ball grenades. These are dangerous devices because when they
  explode, the rubber balls or pellets spray indiscriminately striking anyone located nearby. They
  cannot be carefully aimed, and for that reason, they should only be used under very restrictive
  conditions. Proper training on their use is essential to minimize the risk of injury or death.

  28. Finally, the OIM review found that “there has been a decline in the volume and frequency of
  crowd control and field force training in recent years” (p. 51). The report concluded that the DPD
  “needs to substantially increase its investments in crowd control and field force training to
  properly prepare officers for the possibility of other mass protest events in the future.” I agree
  with this assessment.

  29. To summarize, at the time of the GFP, the DPD used deficient training for crowd control and
  crowd management. That training was inconsistent with the DPD’s own Crowd Management
  Manual. It devoted insufficient attention to crowd management strategies, including de-
  escalation, communication, mediation, and negotiation. It provided almost no coverage of crowd
  psychology and behavior, and what coverage it did provide was dated and inaccurate. Finally, as
  noted in the OIM report, the crowd control training provided by the DPD was insufficient in
  content, volume, and frequency and therefore did not adequately prepare officers for the
  challenges they faced during the GFP. The foreseeable consequence of DPD’s failure to provide
  adequate training to its officers was officers’ use of inappropriate tactics on, and violation of the
  constitutional rights of, the Plaintiffs and other protestors.


  B. Insufficient Reliance on Crowd Management Strategies

  30. Consistent with my findings regarding the DPD’s training on crowd management and
  control, the DPD’s response to the GFP involved an insufficient reliance on crowd management
  strategies. Instead, the evidence reveals that the DPD relied primarily on crowd control tactics,
  particularly the use of skirmish lines, less lethal weapons, and arrests. This heavy reliance on
  crowd control and insufficient use of crowd management is inconsistent with nationally accepted
  police standards and practices, and the DPD’s own Crowd Management Manual.

  31. The materials I reviewed provide no evidence that the DPD relied on dialogue-based de-
  escalation strategies to reduce tension and prevent conflict and violence with crowds during the
  GFP. Instead, the DPD relied on militaristic crowd control tactics. The Crowd Management
  Manual states, “The policy of the Denver Police Department is not to choose a standard police

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    Haar, R.J., Iacopini, V., Ranadive, N., Dandu, M., & Weiser, S.D. (2017a). Death, injury and disability from
  kinetic impact projectiles in crowd-control settings: A systematic review. BMJ Open, doi:10.1136/
  bmjopen-2017-018154

                                                          11
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 13 of
                                      20




  reaction (such as skirmish lines and the use of chemical agents) in a robotic response to
  problematic crowds. Techniques such as communication, mediation, and negotiation… are
  preferred in an attempt to prevent the escalation of violence” (p. 11). The wisdom of this
  approach, as the stated policy of the DPD, is backed up by a substantial body of research
  evidence from the study of protests and other crowd events. This research has taken place in a
  variety of settings around the world and has accumulated over nearly four decades.17

  32. Unfortunately, the DPD did not follow its own crowd management policy during its handling
  of the GFP. My extensive review of video footage from the GFP revealed that DPD officers and
  their partners from other law enforcement agencies relied heavily on skirmish lines, kinetic
  impact munitions (such as pepperballs and 40mm foam baton rounds), and chemical agents (such
  as CS gas and OC spray) to control crowds. The After-Action reports completed by DPD
  Lieutenants Wyckoff and Wheaton from May 28, 2020 to June 2, 2020 do not list any attempts
  to communicate with the crowd or engage in verbal de-escalation, communication, mediation, or
  negotiation for the first four days of the protests. (DEN 1916-1936) On the fifth day, Chief Pazen
  marched with the crowd (DPD After-Action Report for June 1, 2020, DEN 1930-1933). On the
  sixth day, Murphy Robinson, Executive Director of the Department of Public Safety, marched
  with the crowd (DPD After-Action Report for June 2, 2020, DEN 1934-1936). The decision of
  these leaders to march with the crowd was a good one. Unfortunately, these efforts did not occur
  until the conflict and violence had already been escalating for four days. The daily Operations
  Plans issued by Commander Phelan do not provide any evidence of officers engaging in dialogue
  or de-escalation with protesters. The Operations Plans list assignments for various functions, but
  there is no evidence of any personnel being assigned to roles focusing specifically on dialogue or
  de-escalation. The standard approach in policing, even for spontaneous protests, is to
  communicate with protest organizers or participants before, during, and after protests. A
  continuous line of communication between police and protesters reduces tension and prevents
  conflict and violence from escalating. I do not see any evidence that this type of communication
  occurred between police and protesters in Denver during the GFP.

  33. The use of dialogue-based crowd management strategies is especially important when
  protests are focused on the police. As noted in my guidebook for policing protests, “In the
  aftermath of a controversial arrest or use-of-force incident, people are angry, emotions run high,
  and event participants may be less willing to communicate or cooperate with police in a calm and
  productive manner. The ratio of moderates to radicals may be smaller than usual relative to other
  types of protests. Police may naturally feel frustrated and defensive and less willing to negotiate
  or facilitate under these conditions. While this is certainly understandable at a human level, at a
  professional level these are exactly the moments when communication and facilitation become
  most important. People who are protesting police misconduct expect the police to treat them
  poorly. They may even attempt to goad the police into treating them poorly to capture it on
  video, provide grounds for a complaint or a lawsuit, or otherwise prove a point. Changing the


  17
   Reicher, S.D. (1984). The St. Pauls' riot: An explanation of the limits of crowd action in terms of a social identity
  model. European Journal of Social Psychology, 14(1), 1-21. https://doi.org/10.1002/ejsp.2420140102

                                                            12
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 14 of
                                      20




  interpersonal dynamic at moments like this can have powerful effects on the tone of these events
  and prevent them from escalating into conflict or violence. Communicating in a patient,
  thoughtful, and professional manner when people are angry or frustrated with you and the
  institution you represent can sometimes help calm people down.”18 Because the protests were
  about the police, the DPD’s decision to rely so heavily on crowd control tactics, in lieu of the
  types of crowd management strategies outlined in its own Crowd Management Manual, very
  likely inflamed tensions and promoted unnecessary tension and conflict between police and
  protesters.

  34. Aside from dialogue and de-escalation, another crucial element of crowd management is
  providing verbal warnings or dispersal orders prior to using force against a crowd. My review of
  video footage from the GFP revealed numerous instances of police using force against crowds
  without any warning ahead of time or without an order to disperse. Numerous officers justified
  this approach during their depositions, citing exigent circumstances because people in the crowd
  were throwing objects at them (for example, see Lt. Canino’s deposition, pp. 33-38, p. 46, and p.
  63).

  35. In his deposition, Commander Phelan stated that there are times when giving an
  announcement “wouldn’t be prudent.” I do not understand or agree with this sentiment. It is
  especially concerning coming from the person who served as incident commander during the
  GFP and who set the tone for the DPD response to the protests. There may be moments when
  exigent circumstances (in the form of serious threats to officer safety) do not allow police
  officers to issue a warning or dispersal order first and then wait before using force. However,
  even in circumstances where police officers are encountering active aggression from people in
  the crowd, there should still be a person designated to make announcements to the crowd while
  other officers handle the aggressors. Aurora Commander Redfearn stated in his deposition that it
  is customary to issue warnings prior to deploying tear gas unless there are immediate life safety
  issues. I agree. My review of the video evidence and depositions revealed a widespread custom
  or practice of firing chemical agents and kinetic impact munitions at crowds in the absence of
  warnings or orders to disperse. The research evidence shows that decisions like this tend to
  escalate conflict and violence between police and crowds. This is why British police rely on a
  “no surprises” approach, letting protesters know ahead of time about likely police actions so they
  can make informed choices about whether to alter their behavior or exit the area.19 In those
  moments when exigent circumstances do not allow police to issue warnings or announcements
  prior to using reasonable force, they can simply issue those warnings or announcements as soon
  as practicably possible. The idea that once a crowd is aggressive, police no longer need to
  communicate with or issue announcements to the crowd is professionally irresponsible and
  dangerous.



  18
       Maguire & Oakley (2000, p. 69).

  19
       Her Majesty’s Chief Inspector of the Constabulary (2009, p. 164).

                                                            13
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 15 of
                                      20




  36. In addition to the need to issue verbal warnings or dispersal orders before using force against
  a crowd, police also have an obligation to ensure that these warnings are loud enough for the
  crowd to hear them. Crowd events tend to be loud, and the amplification devices used by police
  are sometimes not loud enough to enable the full crowd to hear police announcements. The
  materials I reviewed suggest that when warnings were issued, they were often made without
  amplification or were amplified using a public address system in a police vehicle. The video
  footage reveals that some of these announcements were not loud enough to reach the full crowd.
  Moreover, evidence from the depositions reveals that DPD officers were not particularly
  sensitive to this issue. For instance, in their depositions, both Lt. Pine and Lt. Williams stated
  that they did not do anything to ensure that the crowd could hear the announcements by police.
  When asked why he didn’t do anything, Lt. Pine said it was because he was busy. When asked
  the same question, Lt. Williams stated, “I don’t really know what we could have done to…
  verify it” (p. 107). Evidence of protesters not being able to hear announcements made by police
  is also present in the depositions of Sergeant Beall (pp. 57-58) and Mr. Mitchell (pp. 72-75). I
  conclude from the available evidence that the DPD did not take seriously the question of whether
  the crowd could hear their warnings or orders to disperse. As a result, some protesters were
  “subjected to less lethal munitions before hearing any warning or order” (OIM report, p. 26).

  37. To summarize, at the time of the GFP, the DPD did not rely sufficiently on crowd
  management strategies to reduce tensions and prevent conflict and violence. Instead, the DPD
  appears to have defaulted to the use of crowd control tactics, including the use of skirmish lines,
  less-lethal weapons, and arrests in an effort to control the crowds. Moreover, the DPD did not
  follow nationally accepted standards or its own policies regarding warnings and dispersal orders
  before launching chemical agents or less-lethal munitions at crowds. These approaches are
  deficient in relation to nationally accepted standards and practices in policing, and they are
  inconsistent with the DPD’s Crowd Management Manual. Unfortunately, these approaches are
  consistent with the training reviewed in the previous section, which focused heavily on crowd
  control and did not train officers sufficiently on either crowd management or crowd control. The
  crowd control approach used by the DPD at the GFP very likely had the effect of inflaming
  tensions between protesters and police rather than de-escalating tensions and preventing conflict
  and violence.

  C. Use of Inappropriate Crowd Control Tactics

  38. In addition to not relying sufficiently on crowd management strategies during the GFP, the
  DPD also relied on a variety of inappropriate crowd control tactics. For instance, although
  Commander Phelan noted that in his deposition (p. 31) that his principal concern was the safety
  of the protesters, I could find little evidence substantiating this claim. The DPD engaged in a
  custom or practice of using aggressive crowd control tactics during the GFP that unnecessarily
  endangered peaceful protesters and others who were not committing crimes. Moreover, these
  tactics very likely had the effect of inflaming tensions and escalating conflict and violence
  between police and protesters.


                                                  14
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 16 of
                                      20




  39. Video evidence reveals numerous instances of police using chemical agents and less lethal
  munitions against peaceful members of the crowd during the GFP. In multiple depositions, DPD
  officers defended this practice based on officer safety concerns because they were being struck
  by harmful objects such as rocks and bottles. Officers have the right to defend themselves against
  assault by crowd members, but the appropriate response is not to punish or harm members of the
  whole crowd based on the violent or destructive behavior of a subset of its members, particularly
  in the absence of a warning or a dispersal order. The appropriate response is to target the people
  engaging in violent or destructive behavior. My guidebook on policing protests refers to this as a
  “differentiated” strategy. It is meant to accomplish three key objectives: protecting the First
  Amendment rights of people who are behaving peacefully, ensuring that peaceful protesters are
  not injured or killed, and preventing the unnecessary escalation that results when police take
  enforcement action “against the whole crowd in response to the misbehavior of a subset of its
  participants.”20

  40. If crowd management efforts have failed (or if they have not been attempted) and crowd
  members are throwing objects at officers, the police have several reasonable alternatives they can
  employ. They can arrest the offenders, they can use targeted forms of force against the offenders,
  or they can issue an order instructing the crowd to disperse. Several officers state under
  deposition that they could not enter the crowd to make arrests because it was unsafe to do so.
  The less lethal systems available to DPD officers during the GFP included two targeted forms of
  force that can be used during crowd events: pepperballs and 40mm foam baton rounds. The
  video evidence and depositions both reveal numerous instances of officers targeting individuals
  using these systems. This approach is appropriate, as long as officers strike authorized parts of
  the body and do not strike people who are not engaged in violent or destructive behavior. This
  standard is consistent with language from the DPD Crowd Management Manual, which states
  that pepperball and 40mm operators “are responsible for every round they fire” and they must
  ensure that “innocent persons are not struck unintentionally” (pp. 19-21). (There was, however,
  also video evidence of numerous instances of officers targeting individuals with these systems
  who did not appear to have engaged in any violent or destructive behavior.) Furthermore, several
  officers stated under deposition that aggressive protesters were purposely hiding behind peaceful
  protesters who were located on the front lines of the protests (for example, see deposition of
  former DPD officer Keith Valentine Jr.). This made it difficult for them to target the aggressive
  protesters with less lethal projectiles.

  41. When being assaulted by protesters throwing objects at them, if officers were unable to arrest
  or use targeted force against the offenders, the remaining option was to issue a dispersal order,
  provide clear instructions about what route people should take when exiting the area, and give
  the crowd sufficient time to follow police orders to disperse. That approach is consistent with
  nationally accepted police standards for dispersing a crowd peacefully when officers are under
  assault and do not have other options available for stopping the assault. Once people have been
  ordered to disperse, police confirm that the order is sufficiently loud for the whole crowd to hear

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       Maguire & Oakley (2020, p. 76-81).

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Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 17 of
                                      20




  it, and the crowd members have been given sufficient time to follow the order, police then have a
  reasonable justification for using more indiscriminate forms of force against the entire crowd. At
  that point, consistent with the British “no surprises” approach, crowd participants have been
  given the information they need to make an informed decision about whether to comply with
  police orders. My review of the video evidence in this case, as well as the depositions, indicates
  the officers did not follow this approach to dispersing crowds. Instead, police routinely used
  chemical agents to disperse crowds without sufficiently audible warnings or orders to disperse,
  and without providing protesters information about where the police wanted them to go.

  42. Furthermore, video evidence reveals numerous instances of police striking people in the head
  or other vulnerable areas with projectiles during the GFP. For example, a protester behaving
  peacefully was shot in the face with a 40mm round (see video DEN4136 and Sgt. Abeyta’s
  deposition, pp. 101-122), another was hit in the head with a tear gas canister (see declarations of
  plaintiffs Deras, Fitouri, and Parkins), and another was struck in the groin by a 40mm round (see
  video Fitouri 228). The DPD Crowd Management Manual states that police should not deploy
  pepperball or 40mm rounds to the head, eyes, throat, neck, or genitalia, or other vulnerable areas
  unless deadly force is warranted (pp. 19-21). This policy is consistent with medical research
  evidence showing that kinetic impact projectiles can cause death or serious injury when they
  strike vulnerable areas.21 I saw no evidence that the officers who fired these rounds were
  disciplined for violating departmental policy and placing protesters at risk for serious injury or
  death.

  43. Video evidence also reveals numerous instances of police pushing crowds into active
  intersections or firing chemical agents or impact munitions into intersections (for example, see
  videos DEN 3850 and DEN 4045). Police officers are obligated to look out for the safety of the
  crowds they are seeking to move or disperse as well as the safety of other people who happen to
  be in the area. These ill-advised practices endanger drivers passing through the intersections as
  well as protesters. I saw no evidence that officers who were responsible for pushing people into
  active intersections or firing less lethal weapons into intersections were disciplined for violating
  departmental policy and placing protesters and others at risk for serious injury or death.

  44. DPD and other police agencies present at the GFP in Denver relied on indiscriminate impact
  munitions during the GFP, including Rubber Ball Grenades (see Mitchell deposition, pp. 83-84)
  and Sting Ball Grenades (see Commander Redfearn deposition). These grenades are thrown by
  hand and they project rubber balls or pellets for approximately a 50-foot radius. Because the
  projectiles cannot be aimed, they place crowd members at risk for serious injury or death, with a
  particularly high risk of eye injuries. I saw no evidence of DPD officers being trained in the use

  21
    Haar, et al. (2017a); Hiss, J., Hellman, F.N., & Kahana, T. (1997). Rubber and plastic ammunition lethal injuries:
  The Israeli experience. Medicine, Science, and the Law, 37(2), 139-144; Mahajna, A., Aboud, N., Harbaji, I.,
  Agbaria, A., Lankovsky, Z., Michaelson, M., Fisher, D., & Krausz, M.M. (2002). Blunt and penetrating injuries
  caused by rubber bullets during the Israeli-Arab conflict in October, 2000: A retrospective study. Lancet, 359(9320),
  1795-1800; Rodríguez, Á., Peña, S., Cavieres, I., Vergara, M.J., Pérez, M., Campos, M., Peredo, D., Jorquera, R.,
  Palma, R. Cortés, D., López, S., & Morales, S. (2020). Ocular trauma by kinetic impact projectiles during civil
  unrest in Chile. Eye. https://doi.org/10.1038/s41433-020-01146-w

                                                           16
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 18 of
                                      20




  of these impact munitions. The OIM report quotes the manufacturer of one of these devices:
  “rubber-ball grenades can result in serious bodily injury and should only be deployed by officers
  who have received specialized training” (OIM report, p. 34) Moreover, due to the risk of injury,
  the manufacturer recommends that these grenades be used as a last resort when chemical agents
  and other types of impact munitions have failed to achieve their objective. Because these devices
  cannot be carefully aimed, and because they spread their payload indiscriminately, they run the
  risk of injuring and endangering not only people who are engaging in violent or destructive
  behavior, but also people who are behaving peacefully and lawfully. I agree with the OIM’s
  conclusion, which states that if these devices are to be used for crowd control, “it is incumbent
  on the DPD to regulate their use with clear and explicit policy, which it did not do before the
  GFP” (OIM report, p. 35).

  45. In one egregious incident that occurred on May 31, police trapped protesters between two
  lines of officers and fired chemical agents and impact munitions at them from both sides (see
  depositions of Sergeant Abeyta, Sergeant Beall, and Commander Redfearn). Chief Stamper
  discussed this incident in detail in his expert report, so I will not restate the details here. I concur
  with his assessment that this use of kettling or encirclement tactics was “contrary to generally
  accepted police practices and standards” and violated the constitutional rights of the plaintiffs
  and other protesters.

  D. Insufficient Internal Controls for Addressing Officer Misconduct

  46. As pointed out by Chief Stamper in his expert report, the DPD appears to have “circled the
  wagons” and sought to shield its officers from discipline for misconduct that occurred during the
  GFP. I reach this conclusion for several interconnected reasons. First, my review of the video
  footage from the GFP identified numerous inappropriate uses of force against peaceful protesters
  who were not given any warning or order to disperse. Moreover, I did not find any evidence that
  the officers involved in these inappropriate uses of force were ever disciplined.

  47. Second, as noted earlier, several protesters were struck with impact munitions in vulnerable
  parts of the body where the projectile could have caused serious injury or death. Once again, I
  did not find any evidence that the officers involved in these inappropriate uses of force and
  violations of DPD policy were ever disciplined.

  48. Third, the video footage in this case revealed numerous instances of officers not behaving
  with an appropriate professional demeanor. For instance, one officer called a protester a “fucking
  faggot” [see DEN 4995]. Another celebrated a peaceful protester being shot in the face with a
  40mm round by yelling, “Motherfucker! That’s what you get! Fuck you!” (DEN 4136 @ 7:23
  p.m.). Another said, “that was fun” after throwing tear gas at protesters (COABLM @ 20:47:22).
  These utterances are contrary to professional standards in policing and the DPD’s own Crowd
  Management Manual, which states, “police personnel must maintain a professional demeanor,
  despite unlawful or anti-social behavior on the part of crowd members” (p. 8). When officers


                                                     17
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 19 of
                                      20




  behave in this manner, they diminish the perceived legitimacy of the police and promote conflict
  rather than de-escalating it.

  49. Fourth, some officers seem to have tried to escape accountability for their actions during the
  GFP. As highlighted in the OIM report, officers were often observed not displaying their badge
  numbers or other identifying information, thereby making it difficult to identify them in case of
  allegations of misconduct. Hiding badge numbers and names is a well-known strategy used by
  police officers during civil disturbances to promote anonymity and avoid accountability. This is
  contrary to nationally accepted policing practices and standards promoted by police professional
  bodies such as the International Association of Chiefs of Police22 and the Police Executive
  Research Forum.23 Moreover, officers were often either not wearing their body-worn camera or
  had their camera deactivated (see OIM report, p. 20). Evidence from video footage and
  depositions revealed several incidents in which officers seemed to deactivate their body-worn
  cameras immediately prior to using force against protesters, contrary to nationally accepted
  policing practices and standards. The net effect of officers concealing their identity and not
  activating their body cameras was to escape accountability for their actions during the GFP.

  50. Fifth, as articulated in detail in Chief Stamper’s expert report, the DPD has not provided
  adequate or timely investigation of complaints against officers. Investigations into many of the
  complaints have still not been completed more than a year after the GFP, and the DPD appears to
  have issued “decline letters” in an overly casual manner, even in instances where the evidence
  appears to support the allegations. I agree with Chief Stamper’s conclusion that the handling of
  these cases by Internal Affairs does not “show any serious attempt by the DPD to investigate
  citizen complaints of use of force during the DPD” (Stamper report, p. 51).

  51. In summary, the DPD does not appear to have taken concerns about officer misconduct
  during the police response to the GFP seriously. Officers were allowed to violate policy, adopt
  an unprofessional demeanor, conceal their identity, and not use their body cameras without
  consequence. Moreover, the DPD’s investigation of citizen complaints illustrates that the
  department is not serious about holding officers accountable for misconduct during the GFP, and
  demonstrates a failure to discipline officers appropriately.

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  52. Police officers in the United States have an obligation to facilitate peaceful First Amendment
  expression and public safety during protests. They also have an obligation to behave in a lawful
  and transparent manner that embraces accountability and builds trust with the community. The
  materials I reviewed in this case reveal that the Denver Police Department did not live up to
  these obligations during the GFP. Instead, they behaved in a manner that likely escalated

  22
    International Association of Chiefs of Police (2019). Crowd Management Model Policy. IACP Law Enforcement
  Policy Center.
  23
       Police Executive Research Forum (2015). Lessons Learned from the 2015 Civil Unrest in Baltimore (p. 57).

                                                           18
Case No. 1:20-cv-01878-RBJ Document 286-46 filed 02/11/22 USDC Colorado pg 20 of
                                      20




  tensions and conflict with protesters rather than relying on the types of dialogue and de-
  escalation strategies described in the DPD’s Crowd Management Manual. Moreover, a review of
  the DPD’s training curricula reveals that, in choosing to engage primarily in crowd control rather
  than crowd management, officers were doing what they were trained to do.

  53. The training materials were inaccurate, out of date, and deficient in comparison to national
  standards for policing protests. Moreover, the DPD had not established credible structures and
  procedures for enacting the policies outlined in the Crowd Management Manual. As a result,
  during the GFP, DPD officers relied on inappropriate strategies and tactics that were more likely
  to inflame tensions than to relieve them. The DPD’s policies, training, strategies, and tactics led
  to violations of the constitutional rights of the plaintiffs and other protesters during the GFP.

  54. My rate of compensation for review is $250 per hour. I am aware that discovery is ongoing in
  this case. My opinions may be added to, or amended, upon review of any additional information
  that becomes available.




  Respectfully submitted,


  Edward R. Maguire, Ph.D.
  Dated: August 2, 2021




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